
                                                                    



















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH

NO. 2-06-323-CV





IN RE RAYMOND SPOTH, GEORGE RAY, INC., 	RELATORS

PSI PARTNERS, LTD., AND PSI GP, LLC AS 

THE GENERAL PARTNER OF PSI PARTNERS, LTD.	



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ORIGINAL PROCEEDING

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MEMORANDUM OPINION
(footnote: 1)
------------

The court has considered relators’ petition for writ of mandamus and is of the opinion that relief should be denied. &nbsp;Accordingly, relators’ petition for writ of mandamus is denied.

Relators shall pay all costs of this original proceeding, for which let execution issue.



PER CURIAM





PANEL A: &nbsp;LIVINGSTON, HOLMAN, and WALKER, JJ.



DELIVERED: September 21, 2006

FOOTNOTES
1:See
 
Tex. R. App. P. 47.4.




